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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER FOLLOWING STATUS
13     v.                                                  CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
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                         Respondents-Defendants.
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18           A telephonic status conference was held on August 17, 2018. Lee Gelernt appeared
19     on behalf of Plaintiffs, Zachary Best and Justin Bernick appeared on behalf of the plaintiffs
20     in M.M.M., Jennifer Levy appeared on behalf of the plaintiffs in N.T.C., and Scott Stewart,
21     Sarah Fabian and August Flentje appeared on behalf of Defendants in all cases. After
22     consulting with counsel and being advised of the status of the cases, IT IS HEREBY
23     ORDERED:
24     1.    The Interagency Plan for Reunification of Separated Minors with Removed Parents
25     is approved. The parties shall meet and confer on the issue of whether removed parents
26     have a right to be reunified with their children in the United States. They shall also meet
27     and confer on class certification in M.M.M., and whether the plaintiffs in that case are
28     entitled to pursue asylum requests under § 235 or § 240. If the parties are unable to reach

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 1     agreement on these issues, they shall propose a briefing schedule to the Court in the next
 2     Joint Status Report. That Report shall be filed on or before 3:00 p.m. on August 23, 2018.
 3     2.    A further telephonic status conference shall be held on August 24, 2018, at 1:00
 4     p.m. The Court will provide a dial in number for all counsel making an appearance. The
 5     dial in number for any counsel who wish only to listen in and members of the news media
 6     that wish to attend the conference is as follows.
 7           1.       Dial the toll free number: 877-411-9748;
 8           2.       Enter the Access Code: 6246317 (Participants will be put on hold until the
 9                    Court activates the conference call);
10           3.       Enter the Participant Security Code 08240428 and Press # (The security code
11                    will be confirmed);
12           4.       Once the Security Code is confirmed, participants will be prompted to Press
13                    1 to join the conference or Press 2 to re-enter the Security Code.
14     Members of the general public may attend in person. All persons dialing in to the
15     conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
16     proceedings.
17      Dated: August 17, 2018
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